                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:11-00082
                                                    )      Judge Trauger
                                                    )
[1] TRAVIS LYNN GENTRY                              )
[3] FRANK DWAYNE RANDOLPH                           )
[7] PATRICK DEWAYNE SMITH                           )

                                           ORDER

       It is hereby ORDERED that the Clerk shall file under seal a note from a juror selected

for the trial of this case on October 23, 2012, which was presented to Judge Trauger on the

evening of October 23, 2012.

       It is so ORDERED.

       ENTER this 25th day of October 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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